UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                                Case No.: 20-10322
 The Diocese of Buffalo, N.Y.,
                                                                Chapter 11 Case

                        Debtor,


    AFFIDAVIT OF REV.PETER J. KARALUS REGARDING STRUCTURE AND
 PRE-FILING HISTORY OF THE DIOCESE OF BUFFALO AND IN SUPPORT OF THE
             CHAPTER 11 PETITION AND FIRST DAY PLEADINGS

STATE OF NEW YORK              )
COUNTY OF ERIE                 ) ss.:

          Reverend Peter J. Karalus, being duly sworn, deposes and states as follows:

                 I am the Vicar General and Moderator ofthe Curia for the Roman Catholic Diocese

of Buffalo. I have served in such capacity since September 10, 2018. Prior to that time, I served

as a pastor in several. parishes within the territory of the Diocese (as that term is defined below),

and I am familiar with the mission, history, and structure of the Catholic Church in Western New

York.

          2.     "I'he Diocese of Buffalo, N.Y. (the "Diocese"), is a not for profit corporation

organized pursuant to a special act of the New York Legislature as described in paragraph 19

below. The Diocese is the secular legal embodiment of the Diocese of Buffalo, a juridic person

recognized under Canon Law (as that term is defined below).

          3.     On February 28, 2020 (the "Petition Date"), the Diocese filed a voluntary petition

commencing the above-captioned case (this "Chapter 11 Case") under chapter 11 of Title 11 of

the United States Code (11 U.S.C. 101 et seq.; the "Bankruptc.
                                                             ~").




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         4.       I am the Vice President of the Diocese. I am authorized to submit this Affidavit on

behalf ofthe Diocese in connection with its voluntary chapter 11 petition and the first-day motions

and applications filed with the Court contemporaneously herewith (the "First Day Motions")

         5.       I make this Affidavit based upon my personal knowledge of the facts set forth

herein, upon information supplied to me by others associated with the Diocese, upon my review

of relevant documents and upon my experience and knowledge of Diocesan operations. If I were

called to testify, I would testify accordingly to the facts set forth herein.

         6.       The First Day Motions seek relief aimed at facilitating a smooth transition into this

Chapter 11 Case, assisting the Diocese in continuing its mission by maintaining employee

compensation, maintaining the goodwill and morale of the employees, parishioners, clerics and

others who rely on the programs and services provided by the Diocese, and preserving and

maintaining the property available to satisfy creditors ofthe Diocese. I respectfully submit that all

of the First Day Motions are vital to the Diocese's reorganization efforts and expedited approval

of the First Day Motions is important to the Diocese's successful reorganization. The First Day

Motions and financial structure of the Diocese are further described in the First Day Affidavit of

Charles Mendolera submitted contemporaneously herewith.


                       CANON LAW STRUCTURE AND ORGANIZATION

         7.       It is a matter offaith that the Catholic Church (the "Church")~ was founded by Jesus

Christ to carry out the mission to teach, sanctify and serve the needs of others. The Church is a

worldwide community with over 1.2 billion members who adhere to a common creed. The Code




~ As used herein,"Church" means the universal Catholic Church (i.e., the "one, holy, catholic and apostolic church"
of Catholic belief, seated in the Vatican and headed by Pope Francis). For the avoidance of doubt, particular places
of worship are referred to herein as "churches" without capitalization.

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  of Canon Law2 establishes the internal organizational structure and procedures to be followed

  within the Church. Canon Law also identifies property rights and agency relationships among the

  various structures within the community of the Church.

            8.          While the Church is organized in a hierarchical structure it is not a monolithic

 corporate entity. A variety of organizations operate in ecclesiastical harmony to carry out the

 mission ofthe Church. The Church is organized by territorial districts, the most common of which

 is a diocese.3 A diocese usually is defined by a geographic area and is created to serve the

 community of Latin Rite Catholics present in that area. The bishop of a diocese is appointed by

 The Pope.`

            9.          An apostolic administrator may be appointed by the Pope to lead a diocese in the

 event of the resignation, removal or death of its bishop. An apostolic administrator holds

 substantially the same authority as a bishop to administer the temporal and spiritual affairs of a

 diocese. Following the resignation of Bishop Richard Malone on December 4, 2019, The Most

 Reverend Edward B. Scharfenberger, Bishop of the Diocese of Albany, New York, was

 simultaneously appointed (effective immediately on such date) by Pope Francis as the Apostolic

 Administrator of the Diocese.

            10.         The territory of the Diocese is co-extensive with the counties of Erie, Niagara,

 Genesee, Orleans, Chautauqua, Wyoming, Cattaraugus and Allegany in New York State.




 ~ Canon Law comes from several sources of Church law that together establish the internal organizational structure
 and relationships among the entities and organizations that comprise the Church. Canon Law was originally codified
 in 1917, and amended by Pope John Paul II on January 25, 1983. See, 1983 Code of Canon Law c.1-1752 (1983)
("Canon Law").
'Canon Law, c. 369
 a Icl. at c. 377 § 1


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           11.     The Diocese maintains a number of administrative offices and ministries, necessary

to advance the mission of teaching, sanctifying and serving. These include the Offices of the

Bishop, Chancery, Marriage Tribunal, Finance, Vocations, Computer Services, Human Resources,

Communications, Advancement, Evangelization and Parish Life, Sacramental and Family Life,

Catholic Schools, Research and Planning, Buildings and Properties, Pastoral Services, Pro-Life,

Safe Environment, Victims Assistance, Priests Personnel and Archives, Lifelong Faith Formation,

Catechumenate, Youth, Young Adults, and Insurance Services.

           12.     Within the territory ofa diocese are separately constituted parishes.' Like a diocese,

a parish usually is defined territorially.b

           1 3.    "Juridic persons" are constituted pursuant to Canon Law or by a special grant of

competent authority given through a decree, and they have perpetual existence unless extinguished

in accordance with Canon Law. Juridic persons within the Church are either aggregates of persons

or things, ordered for a purpose which is in keeping with the mission of the Church. Similar to the

civil law concept of a corporation, a juridic person is distinct and separate from any natural person,

and from other juridic persons. A "public"juridic person is a type ofjuridic person that fulfills its

purposes in the name of the Church. Dioceses and parishes are considered separate public juridic

persons.

           14.     Each public juridic person "owns" all property it has acquired. A juridic person

possesses property in order to carry out its mission to teach, sanctify, and serve. These purposes

are broadly defined as the conduct of worship, the support of employees and ministers, and the




5 Icf. at c. 374
~ /d. at c. 515
 Juridic personality is articulated in the 1983 Code in canons 1 13-123.


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 works of the apostolate.~ Canon Law requires the ownership of property to be protected by valid

 means under secular civil law, and permits the formation of secular legal entities, like the Diocese,

 to hold property and conduct the business of a public juridic person.

           1 5.         The administration of property is the responsibility of a public juridic person's

 administrator,y such as a diocesan bishop (or apostolic administrator)over the property ofa diocese

 or a pastor over the property of a parish. The administrator of the property of a public juridic

 person must exercise this responsibility in concert with a finance council.10 It is a fundamental

 canonical understanding that property owned by one public juridic person cannot be

 simultaneously owned or controlled by another.

           16.       The persons who populate a diocese or a parish are first of all those who are

 baptized and live in communion with the successor of St. Peter(The Pope, otherwise known as the

 Supreme Pontiff ofthe Roman Catholic Church)and those in communion with him.~ 1 Among the

 baptized are laypersons and clerics.~Z Clerics are also called sacred ministers and perform many

 ofthe liturgical services within the worship ofthe Church. Clerics are deacons, priests or bishops.

 There are other individuals who contribute to the mission ofthe Church by joining together through

 common life and the profession of the evangelical counsels of poverty, chastity, and obedience

("Reli ~ious").13 Religious may be either laypersons or clerics. If a Religious is not a cleric, that

 person is referred to as a sister or brother.


8 1983 Code c.1254. The works of the apostolate include activities associated with easing human suffering, promoting
the general welfare, and advancing the social mission of the Church: feeding the hungry, clothing the naked,
welcoming the stranger, caring for the sick, offering education, and any other activity that can promote the good of an
individual and society.
9 1d. at c.1279 § l .
 10 Id. at c.1280.
"Icl. at c. 204.
'~ Id. at c. 207 § 1.
 t3 /d. at c. 207 § 2.

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          17.      While there are a variety offorms by which Religious are organized in institutes of

 consecrated life, they are most often referred to as religious orders.14 These institutes, formed

 around the charism of a founder recognized by appropriate ecclesiastical authority, enjoy a certain

 level of autonomy and conduct their internal operations independently of any diocese (or other

juridic persons). This is most commonly seen in the conduct of their proper apostolates; such as

 schools, healthcare, and monastic communities. Each institute of consecrated life is its own

 independent public juridic person. They are bound to the Church in a special way, but they are

 not part of the hierarchical constitution of the Church. Members of an institute of consecrated life

are not subject to the supervision or discipline of the bishop of the diocese wherein they reside,

 unless they are employed in service of a parish, school or other institution that is subject to a

bishop's oversight.

          18.     There are 22 communities of Religious men, and 17 communities of Religious

women present in the territorial boundaries of our Diocese at this time.


                               NEW YORK CORPORATE STRUCTURE

A.       The Diocese

          19.     Under New York Law, the Diocese is an incorporated legal entity formed pursuant

to a Special Legislative Act with its own corporate structure and governance, separate from the

other Catholic entities within its territory that are described in parts "B" through "F" below (the

"Other Catholic Entities")

         20.      The juridic person of the Diocese of Buffalo was canonically established on April

23, 1847. Thereafter, a corporation was formed on October 30, 1897 to constitute the Diocese of

Buffalo under New York law. Such initial corporation was dissolved and the Diocese as it exists


'`' Institutes of Consecrated Life are covered in canons 573-746 of the ]983 Code.

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 today was reincorporated on May l9, 1951 by a special act of the New York State Legislature

(Chapter 568 of the Laws of 1951 (the "Special Act")). The Special Act provides that the three

 trustees of the Diocese are the Bishop, the Vicar General and the Chancellor as required under

 Canon Law.

          21.      As noted above, the Diocese serves an 8-county region in western New York.

 There are currently 161 parishes (each, a "Parish," and collectively, the "Parishes") and

 approximately 594,315 Catholic individuals in the territory of the Diocese. These individuals are

 served by 144 active Diocesan priests, 84 Religious priests that reside in the Diocese, 25 extern

 priestsl5 and 129 permanent deacons. Deacons are men ordained for the ministry of the word

(catechetics and preaching), service to the poor, and liturgical assistance. Deacons may preside at

 baptisms, officiate at marriages, and provide for the funeral rites apart from the celebration of the

 Eucharist. The Diocese employs more than 240 people, which includes both clergy and laity.

 B.       The Parishes

          22.      The secular legal embodiments of the parishes extant within the Diocese are non-

 member corporations ("Parish Corporations") formed under New York's Religious Corporation

 Law. Pursuant to Article 5 of the Religious Corporations Law, each of the Parish Corporations is

 governed by a Board of Trustees comprised of the Bishop, the Vicar General of the Diocese, the

 Pastor ofthe Parish and two lay members ofthe Parish. The Bishop of the Diocese is the president

 of each Parish Corporation, the Vicar General is the vice president and the Pastor is the secretary-

 treasurer (all serving ex-officio in accordance with New York law).




'
' An extern priest is priest incardinated in another diocese or institute of consecrated life who comes with the
permission of the diocesan bishop to exercise ministry in the territory of the Diocese of Buffalo. Incardination is the
bond that exists between a cleric and a diocese or institute of consecrated life.

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        23.      Each Parish Corporation owns the real and personal property that is used in its

 ministry.    Each Parish holds its own meetings, appoints its own councils and committees,

 establishes its annual budget, and maintains its own books, records, bank accounts and employee

 payroll.

        24.      In 2019, throughout the 161 parishes in the Diocese there were 934 marriages,

 2,646 infant baptisms, 2,750 First Communions and 2,912 Confirmations.

        25.      Within the Diocese, there are 34 elementary schools and one middle school

(including certain schools that are designated as parish schools and certain other schools that are

 designated as regional schools) that serve approximately 7,759 students. Numerous Parish

 Corporations also own, maintain and operate cemeteries.

        26.     The Parish Corporations located within the Diocese are not under the fiscal or

 operating control of the Diocese. The Parish Corporations have not sought bankruptcy relief and

 are not debtors in this bankruptcy proceeding.

 C.     Independent Catholic Schools (Elementary and Secondary)

        27.     There are four elementary and twelve secondary Catholic schools in the territory of

 the Diocese that are separately operated and governed by Religious or private not-for-profit

 organizations (the "Independent Schools"). Such Independent Schools serve approximately 4,800

 students.

        28.     Five of the Independent Schools (Bishop Timon-St. Jude (Buffalo), Notre Dame

(Batavia), St. Mary's (Lancaster), Archbishop Walsh Academy (Olean) and Cardinal O'Hara

(Tonawanda)) were formerly affiliated with the Diocese. Such schools separated from the Diocese

and were incorporated (chartered) by the New York State Board of Regents in 1991. Each ofthese




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schools occupies a building that is owned by the Diocese and leased to the entity that operates the

school.

          29.    The Independent Schools are not under the fiscal or operating control of the

Diocese, have not sought bankruptcy relief and are not debtors in this bankruptcy proceeding.

D.        Catholic Ministry Entities

       30.      There are several not-for-profit corporations that work to carry out various

ministries of the Church within the territory of the Diocese ("Catholic Ministry Entities"). All of

the Catholic Ministry Entities were created under New York Not-for-Profit Corporation law or

other New York organizational statutes to carry out a variety of works of the apostolate. The

Catholic Ministry Entities are not under the fiscal or operating control of the Diocese, have not

sought bankruptcy relief and are not debtors in this bankruptcy proceeding. Each maintains its

own books and records, bank accounts and employee payroll. The Catholic Ministry Entities

include the following:

                i.       Catholic Charities

       31.      Catholic Charities of the Diocese of Buffalo, Inc. ("Catholic Charities") was

incorporated pursuant to Chapter 256 of the Laws of 1917 on November 23, 1923. The purpose

of Catholic Charities is to aid, support, advise, and conduct, by itself or in cooperation with any

religious, charitable, benevolent or educational corporation, a wide variety of human services for

the benefit of persons within the Diocese.

       32.      Catholic Charities is anot-for-profit New York corporation with members. The

members include (all serving ex-officio): the Bishop ofthe Diocese, any active Auxiliary Bishops)

of the Diocese, the Vicar General/Moderator of the Curia of the Diocese, the Chancellor of the

Diocese and the Chief Executive Officer of Catholic Charities.



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        33.     The affairs, property, business and policies of Catholic Charities are under the

 charge, control and direction of the Board of Trustees, subject to certain reserved powers of the

 Members.

        34.     Catholic Charities maintains administrative and service offices in Erie and Niagara

 Counties, and satellite offices in Erie, Cattaraugus, Allegany, Chautauqua, Genesee, Orleans,

 Wyoming and Niagara Counties. Catholic Charities provides assistance to people in need without

 regard to religious, racial, ethnic or economic background.

                ii.    Christ the King Seminary

        35.     Christ the King Seminary (the "Seminary") was chartered as a New York State

 education corporation by the New York State Board of Regents on June 28, 1974. The Seminary

 is a New York not-for-profit corporation having the following as members (all serving ex-officio):

 the Bishop ofthe Diocese,the Vicar General/Moderator ofthe Curia ofthe Diocese,the Chancellor

 of the Diocese and the Rector of the Seminary. The Seminary is governed by a board of trustees,

 which is composed of the members and those other trustees elected by the members.

        36.     The purpose of the Seminary is to educate men to the Catholic priesthood as well

 as the education of permanent deacons and lay ecclesiastical ministers.

                iii.   Catholic Cemeteries

        37.    Catholic Cemeteries of the Roman Catholic Diocese of Buffalo, New York, Inc.

("Catholic Cemeteries") was incorporated as anot-for-profit corporation under New York law on

December 29, 2008.

        38.    The members of Catholic Cemeteries, who serve ex officio, are the Bishop of the

Diocese, the Vicar General/Moderator of the Curia of the Diocese, and the Chancellor of the

Diocese.



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        39.       The purpose of Catholic Cemeteries is to carry out the sacred religious function of

the burial of the deceased.

                  iv.     St. Adalbert's Response to Love Center

        40.       St. Adalbert's Response to Love Center (The "Response to Love Center") was

incorporated as a New York not-for-profit corporation on December 18, 2006.

        41.       The Members ofthe Response to Love Center, who serve ex officio, are the Bishop

of the Diocese, the Vicar General/Moderator of the Curia of the Diocese, a pastor or pastoral

administrator from a Parish Corporation, and a local Felician Sister appointed by the Provincial of

the Felician Sisters.

       42.        The purpose of the Response to Love Center is to assist and meet the needs of

poverty-stricken individuals and families with programs and services that empower people to take

responsibility for their lives and encourage self-sufficiency through dignity and compassion.

                  v.     Our Lady of Victory

       43.        Our Lady of Victory Institutions, Inc. was incorporated on February 5, 2014 as a

New York not-for-profit corporation. The sole member of Our Lady of Victory Institutions, Inc.

is the Diocese.

       44.        The purpose of Our Lady of Victory Institutions, Inc. is to support and serve as the

sole member oftwo separate operating not-for-profit corporations: Our Lady of Victory Homes of

Charity, and Baker Hall d/b/a Baker Victory Services. These operating corporations provide a

broad range of social services, including behavioral health care, residential treatment services,

services for the developmentally disabled, education services, outpatient services and foster care.




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                 vi.     Catholic Health Systems, Inc.

           45.   Catholic Health Systems, Inc.("Catholic Health") was incorporated on August 14,

 1985 as a New York not-for-profit corporation. The members of Catholic Health include the

Diocese and Trinity Health Corporation.

           46.   The affairs, property, business and policies of Catholic Health are under the charge,

control and direction of the Catholic Health Board of Directors except for those matters subject to

the reserved powers of the members.

           47.   Catholic Health is anon-profit health care system that provides care to the people

of Western New York through access to hospitals, long-term care facilities, primary care centers,

emergency centers and several other community ministries.

                 vii.   Housing Corporations

           48.   New York State Housing Development Corporation provides subsidized housing

to persons of low income primarily through U.S. Department of Housing and Urban Development

funding and Section 8 rent subsidies (the "Federal Housin Pro grams")

           49.   In the territory ofthe Diocese, there are anumber ofnot-for-profit corporations (the

"Housing Corporations") each of which has developed a separate housing project funded by the

Federal Housing Programs. The Housing Corporations have members that include, among others,

the Bishop ofthe Diocese,the Vicar General/Moderator ofthe Curia ofthe Diocese,the Chancellor

of the Diocese, the Diocesan Director of Catholic Charities, the Chief Executive Officer of

Catholic Charities, and the Diocesan Director of Older Adult Services, each of whom serve ex

officio.




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       50.     Each Housing Corporation holds its own meetings, owns its own property,

maintains its own bank accounts, has its own Board of Directors, employs its own employees and

maintains its own books, records and employee programs.

E.     St. Joseph Investment Fund,Inc.

       51.     St. Joseph Investment Fund, Inc.("SJIF") was incorporated on August 30, 2006 as

a New York not-for-profit corporation. The members of SJIF, all of whom serve ex officio, are

the Bishop ofthe Diocese, Vicat• General/Moderator ofthe Curia ofthe Diocese, Chancellor ofthe

Diocese, the President of Catholic Charities and the Rector/President of the Seminary.

       52.     The purpose of SJIF is to receive funds from the Diocese, Parish Corporations and

Other Catholic Entities to invest in harmony with the teachings and beliefs of the Church and to

provide a fiend for the pooling of investments. Each participant enters into a written participation

agreement with SJIF with respect to the delivery offunds for investment, the investment strategies

for the funds as part of collectively invested pools of funds, fees of SJIF for administration and

management of the collective investment funds, and procedure for return of any proceeds of the

invested funds including any investment return after payment of fees.

       53.     The SJIF Board of Directors is responsible for investment, reinvestment and

custody of all investment assets of SJIF. The Board of Directors either directly or as delegated to

the Board's Investment Committee monitors performance, and periodically reports to investors

and at least annually reports to the members.

       54.     SJIF employs multiple investment managers to provide investment advice as to

appropriate investments atld to manage various portfolios of securities. The investment managers

are selected by the Investment Committee and approved by the Board of Directors.




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        55.    NEPC, LLC("NEPC") has been engaged as an independent consultant to provide

consulting services with respect to investment policy development and risk control, asset allocation

 strategy, investment manager searches, and investment performance analysis for SJIF.

        56.    Custody services for SJIF are provided by US Bank, St. Louis, Missouri for

separately managed portfolios. Custody services for multi-investor funds held by SJIF are

provided by various custodians, including Bank of New York Mellon, The Northern Trust Co.,

Deutsche Bank Trust Co., and Citco.

        57.    The Diocese and SJIF have entered into an administrative services contract

pursuant to which the Diocese supplies SJIF with the services of certain of its employees to assist

in maintaining participant and accounting records relating to the funds, and SJIF reimburses the

Diocese for such services.

        58.    SJIF provides responsible administration and protection of temporal goods as

required by Canon Law for the Diocese, Parish Corporations, and other charitable organizations

operated in connection with the Diocese.

        59.    SJIF has not sought bankruptcy relief and is not a debtor in this chapter 11

proceeding.

F.      The Foundation

       60.     The Foundation of the Roman Catholic Diocese of Buffalo, N.Y., Inc. (the

"Foundation") was incorporated as a New York not-for-profit corporation on December 27, 1996.

The members of the Foundation, all of whom serve ex officio, include the Bishop of the Diocese,

Vicar General/Moderator of the Curia of the Diocese, the Chancellor of the Diocese, the Chief

Executive Officer of Catholic Charities and the President/Rector of the Seminary.




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        61.    The purpose ofthe Foundation is to financially support the ministries ofthe Diocese

and the Other Catholic Entities.

       62.     The Foundation has not sought bankruptcy relief and is not a debtor in this

bankruptcy proceeding.


                               REASONS FOR BANKRUPTCY

       63.     The Diocese does not seek Chapter 11 relief to shirk or avoid responsibility for any

past misconduct by clergy or for any decisions made by Diocesan authorities when addressing that

misconduct. The Diocese does not seek bankruptcy relief to hide the truth or deny any person a

day in court. In fact, the Diocese is committed to pursuing the truth and has never prohibited any

person from telling his/her story or speaking his/her truth in public. The Diocese has publicly

disclosed perpetrators. The Diocese has made and requires criminal referrals to be made for all

credible allegations of sexual abuse. The Diocesan Apostolic Administrator, The Most Reverend

Edward B. Scharfenberger, has acknowledged past shortcomings by the Diocese and has attempted

to offer aid and comfort to victims of abuse. The Diocese has established standards for the training

and background assessment of all employees, clerics and volunteers who will likely interact with

children and young people.

       64.     The Diocese is anot-for-profit religious corporation with limited resources,

including limited insurance coverage which may be applicable to claims of persons seeking

remedies under the Child Victims Act("CVA"). The Diocese acknowledges its moral obligation

to compensate victims of abuse fairly and equitably. Consistent with this moral obligation, it

cannot allow any single plaintiff to recover a disproportionate share of the limited funds available

from the Diocese simply because the plaintiff's case goes to trial first. Similarly, the Diocese




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cannot ignore the valid claims of other creditors who stand on equal footing with the CVA

claimants as general unsecured creditors of the Diocese.

       65.     Beyond its obligation to creditors, the Diocese has a fundamental and moral

obligation to the Catholic faithful it serves, and to the donors who have entrusted the Diocese with

the material fruits of their lives' labor, to continue the ministries of the Church in fulfillment of

the canonical and secular legal purposes of the Diocese. In order to do this, the Diocese must

survive.

       66.     The Diocese's goals in seeking chapter 11 relief are two-fold: first, to protect and

preserve its assets that aie properly available For distribution to unsecured creditors; second, the

Diocese must continue the work of the Church to the fullest extent possible, using the resources

dedicated to that purpose.

       67.     A swift exit from bankruptcy is of the utmost importance given the Diocese's

limited resources and because it is anot-for-profit religious corporation. The Diocese is dependent

upon the charity of its faithful to sustain its very existence. This Chapter 11 Case may cast a

shadow upon the Diocese, the Parish Corporations, and the various Other Catholic F,ntities and

their numerous ministries. I respectfully submit that the best way to alleviate any ofthese concerns

is to emerge from chapter 11 as soon as possible.

       I swear, under penalty of perjury under the laws of the United States of America, that the

foregoing is true and correct to the best of my knowledge, information and belief.


 Dated: February vZ~" , 2020
                                                        Rev. Pe J. Karalus
                                                        Vicar eneral, Moderator of the Curia,
                                                        and Corporate Vice President of the
                                                        Diocese of Buffalo, N.Y.




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Sworn to before me this
 ~-~-~~ day of February                ,2020.



Notary Public


             MAUREEN C. RAZMUS
       Kotaty Public •State of New York
    flualified in Erie Co. No.01RA6286971
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    Case 1-20-10322-CLB, Doc 8, Filed 02/28/20, Entered 02/28/20 07:56:03,
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